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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

SAIM SARWAR, Individually,               :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :               Case No.
                                         :
STEELE PROPERTIES, A Maryland            :
Corporation,                             :
                                         :
             Defendant.                  :
_______________________________________/ :
                                         :
                                         :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, SAIM SARWAR, Individually, on his behalf and on behalf of all other individuals

similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, STEELE

PROPERTIES, A Maryland Corporation, (sometimes referred to as “Defendant”), for Injunctive

Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of New York, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Plaintiff

               ambulates in a wheelchair or with a cane or other support and has limited use of his

               hands. He is unable to tightly grasp, pinch and twist of the wrist to operate. When

               ambulating beyond the comfort of his own home, Plaintiff often uses a wheelchair

               or other assistive device. Plaintiff requires accessible handicap parking spaces located

               closet to the entrances of a facility. The handicap and access aisles must be of
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         sufficient width so that he can embark and disembark from a ramp into a vehicle.

         Routes connecting the handicap spaces and all features, goods and services of a

         facility must be level, properly sloped, sufficiently wide and without cracks, holes or

         other hazards that can pose a danger of tipping, catching wheels or falling. These

         areas must be free of obstructions or unsecured carpeting that make passage either

         more difficult or impossible. Amenities must be sufficiently lowered so that Plaintiff

         can reach them. He has difficulty operating door knobs, sink faucets, or other

         operating mechanisms that tight grasping, twisting of the wrist or pinching. He is

         hesitant to use sinks that have unwrapped pipes, as such pose a danger of scraping

         or burning his legs. Sinks must be at the proper height so that he can put his legs

         underneath to wash his hands. He requires grab bars both behind and beside a

         commode so that he can safely transfer and he has difficulty reaching the flush

         control if it is on the wrong side. He has difficulty getting through doorways if they

         lack the proper clearance.

2.       Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

         "tester" for the purpose of asserting his civil rights and monitoring, ensuring, and

         determining whether places of public accommodation and their websites are in

         compliance with the ADA.

3.       According to the county property records, Defendant owns a place of public

         accommodation as defined by the ADA and the regulations implementing the ADA,

         28 CFR 36.201(a) and 36.104. The place of public accommodation that the

         Defendant owns is a place of lodging known as Charlie's Motel Frostburg MD, 220


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         W Main St, Frostburg, MD 21532, and is located in the County of Allegany,

         (hereinafter "Property").

4.       Venue is properly located in this District because the subject property is located in

         this district.

5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

         original jurisdiction over actions which arise from the Defendant’s violations of Title

         III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

         U.S.C. § 2201 and § 2202.

6.       As the owner of the subject place of lodging, Defendant is required to comply with

         the ADA. As such, Defendant is required to ensure that it's place of lodging is in

         compliance with the standards applicable to places of public accommodation, as set

         forth in the regulations promulgated by the Department Of Justice. Said regulations

         are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

         Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

         by reference into the ADA. These regulations impose requirements pertaining to

         places of public accommodation, including places of lodging, to ensure that they are

         accessible to disabled individuals.

7.       More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

         requirement:

         Reservations made by places of lodging. A public accommodation that owns,
         leases (or leases to), or operates a place of lodging shall, with respect to
         reservations made by any means, including by telephone, in-person, or through a
         third party -



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                 (i) Modify its policies, practices, or procedures to ensure that individuals
                 with disabilities can make reservations for accessible guest rooms during
                 the same hours and in the same manner as individuals who do not need
                 accessible rooms;
                 (ii) Identify and describe accessible features in the hotels and guest rooms
                 offered through its reservations service in enough detail to reasonably
                 permit individuals with disabilities to assess independently whether a
                 given hotel or guest room meets his or her accessibility needs;
                 (iii) Ensure that accessible guest rooms are held for use by individuals
                 with disabilities until all other guest rooms of that type have been rented
                 and the accessible room requested is the only remaining room of that type;
                 (iv) Reserve, upon request, accessible guest rooms or specific types of
                 guest rooms and ensure that the guest rooms requested are blocked and
                 removed from all reservations systems; and
                 (v) Guarantee that the specific accessible guest room reserved through its
                 reservations service is held for the reserving customer, regardless of
                 whether a specific room is held in response to reservations made by others.

8.        These regulations became effective March 15, 2012.

9.        Defendant, either itself or by and through a third party, accepts reservations for its

          hotel online through one or more websites. The purpose of these websites is so

          that members of the public may reserve guest accommodations and review

          information pertaining to the goods, services, features, facilities, benefits,

          advantages, and accommodations of the Property. As such, these websites are

          subject to the requirements of 28 C.F.R. Section 36.302(e).

10.       Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

          purpose of reviewing and assessing the accessible features at the Property and

          ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

          his accessibility needs. However, Plaintiff was unable to do so because Defendant

          failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

          As a result, Plaintiff was deprived the same goods, services, features, facilities,


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    benefits, advantages, and accommodations of the Property available to the general

    public. Specifically, the following violations were found:

    a.     The website for the hotel located at booking.com did not identify or allow

           for reservation of accessible guest rooms and did not provide sufficient

           information regarding accessability at the hotel.

    b.     The website for the hotel located at expedia.com did not identify or allow

           for reservation of accessible guest rooms and did not provide sufficient

           information regarding accessability at the hotel.

    c.     The website for the hotel located at hotels.com did not identify or allow

           for reservation of accessible guest rooms and did not provide sufficient

           information regarding accessability at the hotel.

    dc.    The website for the hotel located at priceline.com did not identify or allow

           for reservation of accessible guest rooms and did not provide sufficient

           information regarding accessability at the hotel.

    ec.    The website for the hotel located at orbitz.com did not identify or allow for

           reservation of accessible guest rooms and did not provide sufficient

           information regarding accessability at the hotel.

    f.     The website for the hotel located at trip.com did not identify or allow for

           reservation of accessible guest rooms and did not provide sufficient

           information regarding accessability at the hotel.




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          g.     The website for the hotel located at cheaptickets.com did not identify or

                 allow for reservation of accessible guest rooms and did not provide

                 sufficient information regarding accessability at the hotel.

          h.     The website for the hotel located at travelocity.com did not identify or

                 allow for reservation of accessible guest rooms and did not provide

                 sufficient information regarding accessability at the hotel.

          i.     The website for the hotel located at agoda.com did not identify or allow

                 for reservation of accessible guest rooms and did not provide sufficient

                 information regarding accessability at the hotel.

          j.     The website for the hotel located at hotels.bookety.com did not identify or

                 allow for reservation of accessible guest rooms and did not provide

                 sufficient information regarding accessability at the hotel.

11.       In the near future, Plaintiff intends to revisit Defendant's online reservations

          system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

          respect, Plaintiff maintains a system to ensure that he revisits the online

          reservations system of every hotel he sues. By this system, Plaintiff maintains a

          list of all hotels he has sued with several columns following each. he continually

          updates this list by, among other things, entering the dates he did visit and plans to

          again visit the hotel's online reservations system. With respect to each hotel, he

          visits the online reservations system multiple times prior to the complaint being

          filed, then visits again shortly after the complaint is filed. Once a judgment is




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          obtained or settlement agreement reached, he records the date by which the hotel's

          online reservations system must be compliant and revisits when that date arrives.

12.       Plaintiff is continuously aware that the subject websites remain non-compliant and

          that it would be a futile gesture to revisit the websites as long as those violations

          exist unless he is willing to suffer additional discrimination.

13.       The violations present at Defendant's websites infringe Plaintiff's right to travel

          free of discrimination and deprive him of the information required to make

          meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

          frustration and humiliation as the result of the discriminatory conditions present at

          Defendant's website. By continuing to operate the websites with discriminatory

          conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

          and deprives Plaintiff the full and equal enjoyment of the goods, services,

          facilities, privileges and/or accommodations available to the general public. By

          encountering the discriminatory conditions at Defendant's website, and knowing

          that it would be a futile gesture to return to the websitesunless he is willing to

          endure additional discrimination, Plaintiff is deprived of the same advantages,

          privileges, goods, services and benefits readily available to the general public. By

          maintaining a websites with violations, Defendant deprives Plaintiff the equality

          of opportunity offered to the general public. Defendant's online reservations

          system serves as a gateway to its hotel. Because this online reservations system

          discriminates against Plaintiff, it is thereby more difficult to book a room at the




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          hotel or make an informed decision as to whether the facilities at the hotel are

          accessible.

14.       Plaintiff has suffered and will continue to suffer direct and indirect injury as a

          result of the Defendant’s discrimination until the Defendant is compelled to

          modify its websitesto comply with the requirements of the ADA and to

          continually monitor and ensure that the subject websitesremains in compliance.

15.       Plaintiff has a realistic, credible, existing and continuing threat of discrimination

          from the Defendant’s non-compliance with the ADA with respect to these

          websites. Plaintiff has reasonable grounds to believe that he will continue to be

          subjected to discrimination in violation of the ADA by the Defendant.

16.       The Defendant has discriminated against the Plaintiff by denying him access to,

          and full and equal enjoyment of, the goods, services, facilities, privileges,

          advantages and/or accommodations of the subject website.

17.       The Plaintiff and all others similarly situated will continue to suffer such

          discrimination, injury and damage without the immediate relief provided by the

          ADA as requested herein.

18.       Defendant has discriminated against the Plaintiff by denying him access to full

          and equal enjoyment of the goods, services, facilities, privileges, advantages

          and/or accommodations of its place of public accommodation or commercial

          facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e).

          Furthermore, the Defendant continues to discriminate against the Plaintiff, and all

          those similarly situated by failing to make reasonable modifications in policies,


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               practices or procedures, when such modifications are necessary to afford all

               offered goods, services, facilities, privileges, advantages or accommodations to

               individuals with disabilities; and by failing to take such efforts that may be

               necessary to ensure that no individual with a disability is excluded, denied

               services, segregated or otherwise treated differently than other individuals because

               of the absence of auxiliary aids and services.

19.            Plaintiff is without adequate remedy at law and is suffering irreparable harm.

               Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

               fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

               12205 and 28 CFR 36.505.

20.            Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

               Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

               subject websites to make them readily accessible and useable to the Plaintiff and

               all other persons with disabilities as defined by the ADAand 28 C.F.R. Section

               36.302(e); or by closing the websites until such time as the Defendant cures its

               violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.       The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).




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b.   Injunctive relief against the Defendant including an order to revise its websitesto

     comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

     maintain the websitesto ensure that it remains in compliance with said requirement.

c.   An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

     § 12205.

d.   Such other relief as the Court deems just and proper, and/or is allowable under

     Title III of the Americans with Disabilities Act.

     Respectfully Submitted,

                                   Respectfully Submitted,

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